                             NO. 07-09-00159-CR

                           IN THE COURT OF APPEALS

                      FOR THE SEVENTH DISTRICT OF TEXAS

                                 AT AMARILLO

                                   PANEL B

                                MARCH 1, 2010




                         KELVIN D. GREEN, APPELLANT


                                     v.


                        THE STATE OF TEXAS, APPELLEE



               FROM THE 364TH DISTRICT COURT OF LUBBOCK COUNTY;

           NO. 2008-420,856; HONORABLE BRADLEY S. UNDERWOOD, JUDGE



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.


                             MEMORANDUM OPINION


      Pending before the Court is appellant's motion to dismiss his  appeal.
Appellant and his attorney both have signed the motion.   Tex.  R.  App.  P.
42.2(a).  No decision of this Court having been delivered to date, we  grant
the motion.  Accordingly, the appeal is dismissed.  No motion for  rehearing
will be entertained and our mandate will issue forthwith.


                                                     James    T.    Campbell
                                                            Justice


Do not publish.

